USCA4 Appeal: 07-4115   Doc: 190      Filed: 04/16/2010     Pg: 1 of 1




                                                               Filed: April 16, 2010

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501
                             Richmond, Virginia 23219-3517
                                  www.ca4.uscourts.gov

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                                    RESPONSE REQUESTED
                                     ____________________

               No. 07-4059 (L), US v. Learley R. Goodwin
                                8:04-cr-00235-RWT


        RESPONSE DUE: April 29, 2010

        TO: United States of America

        A response is required to the motion for temporary stay of
        appeal which has been construed as a motion to suspend the
        briefing schedule and to place the appeal in abeyance. The
        response must be filed by the response due date shown in this
        notice.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
